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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALBERT J. MARNOCH é CIVIL ACTION
Vv. ; NO. 21-CV-
HOME DEPOT U.S.A., INC.

NOTICE FOR REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §1441

Defendant, Home Depot U.S.A., Inc. (“Home Depot” and/or “Defendant”), hereby submits
notice to the United States District Court for the Eastern District of Pennsylvania for the removal of
the above entitled action to this Court and, in support thereof, respectfully represent:

1. Defendant is a corporation organized and existing under the laws of the State of
Delaware, having its principal place of business located in the State of Georgia.

2. Upon information, knowledge, and belief, Plaintiff, Albert J. Marnoch (“Plaintiff”),
is an adult individual, citizen, and resident of the Commonwealth of Pennsylvania, residing at 24
Maple Avenue, Hatboro, PA 19040, and is domiciled at that address.

a At all times material hereto, Home Depot was duly registered to do, and was doing,
business in the Commonwealth of Pennsylvania.

4. On or about September 13, 2021, Plaintiff instituted the above action, by way of
Complaint (the “Complaint’), a copy of which is attached hereto as Exhibit “A,” in the Pennsyl-
vania Court of Common Pleas, Philadelphia County, as of September Term, 2021; No. 00806,
seeking damages against Defendant for injuries Plaintiff purportedly sustained as a result of
Defendant's alleged negligence.

5. At the time the action was filed, Defendant did not have notice Plaintiff's claim
exceeded $75,000.00, exclusive of interest or costs. See Espinosa v. Allstate Ins. Co., CIV.A.07-0746,
2007 WL 1181020 (E.D. Pa. Apr. 16, 2007) (holding a plaintiff's complaint asserting damages in

excess of $50,000.00 was not removable at the time it was filed); Bishop v. Sam’s East, Inc., 2009 WL
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1795316 (E.D. Pa., June 23, 2009) (holding that the filing of a complaint seeking damages in excess
of the state court's arbitration limits does not suffice to place a defendant on notice that a plaintiff's
claims meet the threshold level for diversity jurisdiction); Brown v. Modell's PA IL Inc., 2008 U.S.
Dist. LEXIS 50083, 2 (E.D. Pa. Jul. 1, 2008) (complaint included allegations of lost wages and
apparently serious medical injuries to his back, hand, and wrist that required several surgeries,
“but it did not include any monetary amount of damages other than damages ‘in excess of $
50,000,” which “did not put defendants on notice that the $75,000 amount in controversy
requirement had been met”) (internal citation omitted).

6. On October 21, 2021 the parties filed a Stipulation and agreement regarding naming
Home Depot U.S.A., Inc. as the correct Defendant. A copy of the filed and approved stipulation is
attached hereto as Exhibit “B.”

7. On October 21, 2021, Defendant filed its answer and new matter, a copy of which is
attached hereto as Exhibit “C,” denying liability and asserting various affirmative defenses.

8. In 934 of its new matter, Defendant asserted that “Plaintiff's alleged damages, if
proven, do not exceed $75,000.00, exclusive of interest and costs.”

9. On October 27, 2021, Plaintiff filed his reply to Defendant’s new matter, a copy of
which is attached hereto as Exhibit “D,” denying the allegations in Defendant’s new matter both
factually and as conclusions of law, , including, without limitation, 34 thereof.

10. As prescribed in 28 U.S.C. § 1446(c)(3)(A):

If the case stated by the initial pleading is not removable solely
because the amount in controversy does not exceed the amount
specified in section 1332(a), information relating to the amount in
controversy in the record of the State proceeding, or in responses to
discovery, shall be treated as an ‘other paper’ under subsection (b)(3).

11. Plaintiffs reply to Defendant’s new matter placed Defendant on notice that the

amount in controversy exceeded $75,000.00, exclusive of interest and costs.
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12. Plaintiff's reply to Defendant’s new matter constituted “other paper” under 28
U.S.C. §1446(b)(3) and triggered the thirty (30) day removal period.

13. Diversity of citizenship exists between Plaintiff, a citizen, resident, and domiciliary
of the Commonwealth of Pennsylvania, and Defendant, a corporation organized and existing
under the laws of the State of Delaware and having their principal place of business in the State of
Georgia.

14. Complete diversity of citizenship existed between the parties both at the time the
action was first instituted and at present; thus, removal is proper pursuant to 28 U.S.C. § 1441.

i. This Notice of Removal is timely under 28 U.S.C. §1446(b) as it is filed within thirty
(30) days after Defendant's receipt of a paper, to wit, Plaintiff's reply to new matter. Moreover, this
Notice of Removal is made within one (1) year after the filing of the Complaint on September 13,
2021.

WHEREFORE, the above action now pending against Defendant, Home Depot U.S.A., Inc.,
in the Pennsylvania Court of Common Pleas, Philadelphia County, is removed therefrom to this
Honorable Court.

Respectfully submitted,
CHARTWELL LAW

BY: poe

J. GRANT STRINGHAM, ESQUIRE
Identification No. 319317

1735 Market Street, 29% Floor
Philadelphia, PA 19103

(215) 972-5468

 

Attorney for Defendant,
Home Depot U.S.A., Inc.
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COMMONWEALTH OF PENNSYLVANIA )
) ss:
COUNTY OF PHILADELPHIA )
AFFIDAVIT

J. GRANT STRINGHAM, ESQUIRE, being duly sworn according to law, deposes and says
that he is the attorney for Defendant, Home Depot U.S.A., Inc.; that, he has read the foregoing
Notice and knows the contents thereof; that, he is authorized to make this Affidavit on behalf of

Defendant; and, that the facts alleged in the Notice are true and correct to the best of his

—

J. GRANT STRINGHAM, ESQUIRE

knowledge, information and belief.

 

SWORN to and SUBSCRIBED

before me this IGP ay of

\ wenden , 2021.

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NOTARY PUBLIC

 

Commonweatth of Pennsylvania - Notary Seal
DORI CONWAY, Notary Pubtic
Philadelphia County
My Commission Expires October 3, 2023
Commission Number 1236821

 

 

 
